IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF TENNESSEE
NASHVILLE DIVISION
GRAMERCY INSURANCE COMPANY,
Plaintiff,
Chief Judge Haynes
EXPEDITOR’S EXPRESS, INC., et. al.,

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)
)
v. ) No. 3 : lZ-cv-509
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)
)
Defendants. )
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0 R D E R
In accordance with the Memorandum filed herewith, Defendant Brown’s motion to alter or
amend the judgment and for relief from the judgment (Docket Entry No. 34) is GRANTED. In
addition, the Plaintiff’ s motion for judgment on the pleadings (Docket Entry No. 20) is GRANTED.
This action is DISMISSED with prejudice.
This is the Final Order in this action.
It is so ORDERED.

ENTERED this 16 §;;OfJuly, 2013.

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WILLIAM J@@l§s,)m.

Chief Judge
United States District Court.

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